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                  Exhibit 2
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Bulger, Susan.


Stefan P. Kruszewski, M.D.
133 Linglestown Road
Harrisburg, Pennsylvania 17110
7 August 2008

Mr. Ken Fromson
C/o Finkelstein & Partners
436 Robinson Ave
Newburgh, NY 12550

Re: Susan Bulger
Date of Birth: 12 December 1964
Date of Death: 04 August 2004

Ronald J. Bulger, Sr., as administrator of the Estate of Susan Bulger,
Deceased
v.
Pfizer Inc., Parke-Davis, a division of Warner-Lambert Company and
Warner-Lambert Company, No 07-CA-11426-PBS


Dear Mr. Fromson,

Shortly after 01 July 2008, I received your request to review the medical records and reports,
deposition transcripts and pharmacy records obtained during the course of this litigation in order
for me to evaluate whether or not gabapentin (Neurontin-Pfizer) was a substantial factor in the
suicide death by hanging of Mrs. Susan Bulger. This report is a written summation of my
findings.

            Relevant educational and clinical background information

To prepare this report, I relied on my personal academic and clinical expertise, briefly described
in the following 3 pages. Below, I attempt to highlight those areas that are specific to my
expertise in this case, permitting me as a board certified psychiatrist and addictionologist to
review, analyze and form the basis of my conclusions within a reasonable degree of medical
certainty.

I have 30 years of clinical practice experience (including internship and residency) in which I
have treated several thousand patients with a wide variety of psychiatric and neuropsychiatric
conditions. I have prescribed numerous neuropsychiatric drugs for multiple indications as well as
having witnessed the side-effects of prescribed and illicit drugs that may predispose an
individual to neuropsychiatric complications. During this time frame and with this population, I
have witnessed and monitored the effects of various anticonvulsants, including
diphenylhydantoin (Dilantin), divalproex/valproic acid(Depakote, others)benzodiazepines
[clonazepam (Klonopin), diazepam(Valium), lorazepam (Ativan)others], and gabapentin
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(Neurontin-Pfizer ). I have also prescribed, monitored and witnessed the benefits and side-
effects associated with antidepressants (such as the SSRI subclass, egs., sertraline (Zoloft-Pfizer),
paroxetine (Paxil-G1axoSmithKline), flextime(Prozac-Eli Lilly, escitalopram (Lexapro-Forest
labs) and the SSRI subclass, e.g., venlafaxine (Effexor-Wyeth.) Additionally, I have prescribed,
monitored and witnessed the beneficial effects and adverse effects of analgesics, including the
opioid class [hydrocodone (Vicodin), oxycodone, OxyContin and Percodan; morphine;
Heroin/diacetylmorphine and methadone], non-steroidal anti-inflammatory drugs [ibuprofen/iso-
butyl-propanoic-phenolic acid (Advil, Motrin, others)], and steroids (prednisone.) I have also
monitored, treated and detoxified and assisted the recoveries of individuals from a huge variety
of prescribed and/or illicit psychoactive substances, including aforementioned opioids, like
Heroin, as well as cocaine, amphetamines, benzodiazepines, hallucinogens, nicotine,
barbiturates, inhalants, cannabinoids, alcohol and non-benzodiazepine sedatives.

I have expertise in psychopharmacology, including education in medical school, internship,
residency, post-graduate work and continuous reading and updating through ongoing Continuing
Medical Education (CME) work. I have taught basic and applied psychiatric and
neuropsychiatric psychopharmacology at several institutions, including Harvard Medical
School(1974-77; specifically, the epidemiology of obesity), UMDNJ-Rutgers Medical
School/Robert Wood Johnson for several years as a member of their residency program and
faculty (1980-1983) and subsequently at University of Pittsburgh School of Medicine, Western
Psychiatric Institute and Clinic (1988-1991), Allegheny General Hospital and related Medical
Schools, (1991-2), University of North Texas Medical School(1992-93) and, most recently, as a
member of the Clinical Faculty of Penn State College of Medicine-Hershey Medical School
(1999-2004.) Currently, I continue to lecture in neuropsychoendocrinology, substances of abuse,
HIV/AIDS and neuropsychiatric disturbances symposia sponsored the Penn State College of
Medicine, University of Pittsburgh School of Medicine and Eastern University.

As part of those academic teaching assignments, I continue to lecture in epidemiology in
psychiatry, neuropsychiatry, substance abuse/addiction and related-fields, including medical
student, resident and physician-in-practice education to identify risk factors for disease and to
determine optimal treatment approaches to clinical practice. As part of that academic training
and education, I have reviewed and discussed, in teaching format, numerous epidemiologic
studies, including ones that are generally categorized as descriptive, analytic (those that examine
associations and commonly hypothesized causal relationships), and experimental (a term often
equated with clinical or community trials of treatments and other interventions). The scope of
my teaching efforts includes the primary, secondary and tertiary prevention of many disease
states and the epidemiology of substance abuse, psychosis, depression, posttraumatic stress,
suicide and homicide.

I have been recognized (on June 11 th, 2007 in a 100-page decision in re to olanzapine; Zyprexa-
Eli Lilly) personal injury cases as a "distinguished expert" by senior Judge Jack B. Weinstein,
United States District Court, Eastern District of New York, 225 Cadman Plaza East, Brooklyn, NY
11201.

I have published articles in peer-reviewed journals, including the BMJ (previously titled, British
Medical Journal), American Journal of Psychiatry, Archives of Neurology, Journal of the
American Medical Association, the New England Journal of Medicine, Journal of Clinical
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 Psychiatry and others. Those articles have covered a wide spectrum of issues pertaining to
 drugs, (including antipsychotics), substance abuse, drug side-effects, the validity and consistency
 of research and conflicts of interest.

I have been a reviewer for Psychiatric Services, one of the official publications of the American
Psychiatric Association. In that capacity, I have been called on to review all elements of
research submitted to the peer-review process, including abstract formulation, overall research
protocol design, methodology, data collection, accounting of side-effects and adverse findings,
statistical analysis, conclusions and accuracy of references. I continue to perform those activities
as requested by the Editors of that magazine. Separately, in 2007, I was appointed an expert
reviewer for two other major peer-reviewed publications: American Journal ofAddictions and
the Journal of Addiction Medicine.

I am the psychiatric expert to the Quality Oversight Committee of Capital BlueCross. The latter
is a paid position in which I oversee and assist in the stewardship of the access to psychiatric,
neuropsychiatric and addiction care, as well as its treatment, up-dated guidelines, quality
standards, consistency to meet state and federal regulations and ongoing assessment and
improvement of standard of care to permit Capital BlueCross, an insurer for approximately 1.8
million person, to maintain its JCAHO credentialing and its reputation within Central and
Eastern Pennsylvania.

Prior to the invitation to serve on the Capital BlueCross oversight board, I sat on the
pharmaceutical and therapeutics' committee, working with other non-psychiatric specialists in
the community(neurology, cardiology, gastrointestinal medicine, anesthesiology, internal
medicine, surgery, pediatrics and obstetrics/gynecology) and pharmaceutical benefit
management corporations to ensure the quality of Capital BlueCross' pharmaceutical
information, drug initiatives and reimbursement practices for its members.

In 2001-2003, I provided psychiatric expertise regarding access to behavioral(mental health and
substance abuse) health care for a white paper designed for the NCQA (National Committee on
Quality Assurance, Washington D.C.) and to be used as a guide for HEDIS measurements to
collectively examine data for effectiveness in nationwide behavioral health programs.

I have performed extensive research of peer-reviewed literature concerning the mechanism of
action of gabapentin and the effects of enhancing GABAergic systems in both animal and human
studies. I am familiar with the peer-reviewed materials related to gabapentin's pre-clinical and
clinical testing, including studies that detail how gabapentin is ingested, absorbed , distributed,
metabolized and excreted in human beings, how it crosses the blood-brain barrier, how it affects
inhibitory signals in human cortical and subcortical structures, how its neurobiochemical effects
are postulated to evoke post-receptor changes that include `downstream' gamma-aminobutyric
acid(GABA) agonist effects, otherwise called GABAergic effects and how those inhibitory
effects are translated into signals that produce significant changes in serotinergic, dopaminergic
and noradrenergic neurotransmission in different parts of the human brain, resulting in
neurobiochemical effects that produce significant downward mood disturbances, including states
of hopelessness, suicidal thinking and increase the likelihood of suicidal intent, suicidal attempts
and completed suicide in humans.
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I am qualified to offer general and case-specific opinions re the epidemiology of suicide,
including aspects that are specific to abrupt, drug-induced suicidal effects. My general
understanding of the causality of suicide is based upon the length and scope of my graduate and
post-graduate education, including studying the basics of scientific methodology at Princeton
University, pre-clinical behavioral sciences and clinical courses in psychiatry and neurology at
Harvard Medical School and the scope of my post-graduate training in psychiatry and
addictionology at UMDNJ-Rutgers/Robert Wood Johnson and Duke University. My study of
Suicidology continues with ongoing peer-reviewed literature and epidemiological analysis,
including those disease states that are specific to the study of psychiatry and include a heightened
at-risk population for suicide, including individuals with panic disorder, depression, bipolar
illness, posttraumatic stress disorder, substance abuse/dependence, young adults and geriatrics,
and chronic and/or life-threatening medical conditions.

In my work with the Federal and state officials, including plaintiff and defense attorneys and
upon requests from specific Federal and state judges, I have also compiled and analyzed data and
prepared psychological autopsies of suicide cases. This work has enabled me to render
conclusions in Federal and state courts about the likely predisposing factors that explain, to a
reasonable degree of medical and psychiatric certainty, the environmental, personal and drug-
related features that assist in understanding and explaining suicidal behavior.

In order to perform this task in regard to the suicide death of Mrs. Susan Bolger, I reviewed the
following materials:

                                    Review of Documents
In order to understand this matter and to form the basis of my conclusions within a reasonable
degree of medical and psychiatric certainty, I reviewed the following documents:
    1. Death Certificate - Commonwealth of Massachusetts Death Certificate for Susan E.
        Bulger for date of death of August 4, 2004, dated August 9, 2004, one page
    2. Letters of Administration of Estate - Commonwealth of Massachusetts Administration
       with Sureties, dated August 23, 2005, two pages
    3. Summons and Complaint - Civil Complaint and Summons filed in US District Court of
       Massachusetts, dated August 3, 2007, 79 pages
    4. Answer - Defendants Answers to Complaint dated September 10, 2007, 30 pages
    5. 26a Disclosures - Disclosure of potential witnesses for the Plaintiff's per rule 26 (a)(1)
       with two supplemental statements, dated January 25, 2008, February 19, 2008 and May
       20, 2008, 20 pages
    6. Interrogatories - Plaintiff's Response to Defendants First Set of Interrogatories, dated
       January 25, 2008, 31 pages
    7. Response to Document Demands - Plaintiff's Response to Defendants First Request for
       Production of Documents and Things, dated January 25, 2008, 60 pages
    8. Toxicology Report - Cover letter from Office of Chief Medical Examiner for The
       Commonwealth of Massachusetts dated December 3, 2007 and toxicology report
       consisting of lab results from blood samples dated October 5, 2004, two pages
    9. Peabody Police Department Report - Peabody Police Incident Report dated August 4,
       2004, call log for Peabody Police department for August 4, 2004 printed April 8, 2005,
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        Typed Narrative For Patrol Sean Down of Peabody Police department dated April 8,
        2005, three pages
    10. North Shore Ambulance and Peabody Fire Department Reports - ALS patient
        encounter record for Northshore Ambulance Inc. dated August 4, 2004, Incident report
        for Peabody fire Department dated August 4, 2004, five pages
    11. Eaton Apothecary Records - Patient medical expense report for October 1, 2003 to
        May 31, 2004 printed on June 25, 2005, one page
    12. The Medicine Shoppe Records - Medical expense report for January 1, 2004 to April 8,
        2005, photocopies of various prescriptions, 12 pages
   13. Walgreens Pharmacy - Purged Data report for dates from May 5, 1998 to September
         11, 2003, 35 pages
   14. Dr. Goldman Records - Records from 7/6/94 to 2/29/08: Office notes, visit notes,
        information sheet, lab results, testing reports, miscellaneous medical records , 122 pages
   15. Dr. Crognale Records - Records from 4/3/95 to 5/16/05: Progress notes, request for
        information from law firm, 80 pages
   16. CAB Health Recovery Services Records - Records from 2/10/00 to 9/21803: Discharge
        summary, physician orders, progress notes, physical evaluations, miscellaneous medical
        records, release for medical records, 32 pages
   17. Dr. Thornhill Records - Records from 3/11/93 TO 2/7/02: Operative reports, discharge
        reports, radiology reports, miscellaneous medical records, release for medical records, 36
        pages
   18. Bayridge Hospital Records - Records from 4/23/98 to 5/1/98; Intake evaluation,
        psychological assessment, physician's orders, treatment plan, miscellaneous medical
        records, 17 pages
   19. Salem Hospital Records - Records from 8/17/88 to 11/18/97: Progress records,
        medication sheets, doctor's orders, lab results, admission data, miscellaneous medical
        records, 121 pages
   20. Danvers Family Care Records - Records printed on 3/3/08 and 6/3/08 for dates
        between 10/20/94 and 5/16/05, as well as miscellaneous records from 5/19/92 to 1/23/04:
        Progress notes, problem list, medication list, lab results, miscellaneous medical records,
        request of records by attorney 227 pages
   21. Dr. Jacobs Records - Records from 6/22/94 to 6/4/08: Medication lists, pain
        management agreement, lab results, progress notes, response to medical record request ,
        miscellaneous medical records, 34 pages
   22. Tri State Mental Health/Elliot Community Hospital Records - Records from 2/24/98
        with records release and request dated 5/2/08 and 4/28/08: Registration document,
        evaluation form, encounter form, safety contract, suicide assessment, 12 pages
   23. Salem Orthopedic Surgeons Records - Records from 10/13/83 to 8/17/01: Progress
       notes, certification for medical records, 9 pages
   24. Dr. Chung/Massachusetts General Hospital Records - Records from 12/18/00 to
        6/4/08: Fax cover letter, Lab reports, pathology reports, progress notes, radiological
       consultation, 17 pages
   25. NSMU Union Hospital Records - Records from 5/23/89 to 5/6/08: Admission sheets,
       discharge summaries, lab results, progress notes, physical exams, certification of medical
       records, treatment plans, medication sheets, miscellaneous medical records, 232 pages
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   26. Adcare Hospital Records - Records from 12/4/95 to 5/28/08: Assessment, discharge
       summaries, medication sheets, treatment plans, progress notes, certification of psychiatric
       records, miscellaneous medical and psychiatric records, 84 pages
   27. Coastal Orthopedic Records - Records from 6/22/94 to 2/20/08: Certification for
       Medical Records, exam notes, 20 pages
   28. Dr. Akabane Records - Records from 5/12/98 to 3/20/08: Fax cover letter, patient
       medical information form, registration form, office visit notes, medication evaluations, 14
       pages
   29. Somerville Hospital Records - Records from 10/13/97 to 5/28/08: Admission records,
       discharge summary, medication sheets, progress notes, lab results, treatment plans,
       miscellaneous medical records, certification of medical records, medical record request,
       73 pages
   30. Southern New Hampshire Medical Center Records - Request and Certification of
       records dated 3/13/08 and 4/4/08, medical records dated 1/21/96: Emergency room
       records of treatment, progress notes, radiology results, 9 pages
   31. Spaulding Rehabilitation Records - Records for admission on 11/4/97 and records
       request and certification dated 3/10/08: Admission records, lab results, progress notes,
       doctor's orders, medication sheet, discharge summary, miscellaneous medical records,
        124 pages
   32. Harvard Vanguard Medical Associates Records - Records for dates 8/2/99 to 5/20/08:
       Request for medical records, progress notes, radiology report, lab results, consultation
       report, 11 pages
   33. Brigham & Women's Hospital Records - Records from 11/15/84 to 5/5/08: Admission
       records, progress notes, exam notes, medication sheets, lab results, radiology results,
       nurses notes, discharge summaries, miscellaneous medical records, certification and
       medical record request, 541 pages
   34. Massachusetts Department of Social Services Records - Records from 6/4/90 to
       6/4/08: Social Services record of assignment, child abuse/neglect reports and
       investigation records, dictation reports, service plans, visitation schedules, temporary
       custody papers, meeting/session attendance sheets, medical records from Massachusetts
       General, miscellaneous documents, 293 pages
   35. Deposition of Michele Meager taken March 21, 2008
   36. Deposition of Dr. Dino Crognale taken March 25, 2008
   37. Deposition of Ronald Bulger, Sr. taken March 26, 2008
   38. Deposition of Dr. Richard Goldman taken April 22, 2008
   39. Deposition of O/StBulger taken May 7, 2008
   40. Deposition of Patricia Bulger taken May 7, 2008
   41. Deposition of Ronald Bulger, Jr. taken May 8, 2008
   42. Deposition of Dr. Mark Mengel taken June 5, 2008
   43. Deposition of Dr. William Medwid taken June 12, 2008
   44. Deposition of Dr. Walter Jacobs taken June 13, 2008
   45. Deposition of Nancy Scialdone taken June 16, 2008
   46. Deposition of Steven Scialdone taken June 16, 2008
   47. Deposition of Russell Gallant taken June 16, 2008
   48. Deposition of Teresa Gallant taken June 16, 2008
   49. Deposition of Amanda Cavallaro taken June 16, 2008
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    50.   Deposition of Joanne Swindell taken June 18, 2008
    51.   Deposition of James Gibbons, Jr. taken June 19, 2008
    52.   Deposition of Dr. Chaim Rosenberg taken June 26, 2008
    53.   Deposition of Dr. Yoshiharu Akabane taken June 26, 2008
    54.   Deposition of Matthew Gravini taken June 27, 2008
    55.   Deposition of Linda Landry taken June 27, 2008
    56.   Deposition of Dr. Dwight Robinson taken June 30, 2008
    57.   Deposition of Barry McEachern, taken 7/1/2008
    58.   Expert report of Ronald Wm. Marls, PhD
    59.   Deposition Transcript of Cheryl Nadeau

                                   Additional Information

    I also reviewed and or relied upon the following:

    1. Expert report and Deposition Transcript of Dr. Michael Trimble in this Neurontin
       Marketing Sales Practices and Products Liability Litigation
    2. Expert report of Dr. Stefan Kruszewski in Neurontin Marketing Sales Practices and
       Products Liability Litigation
    3. Expert report of Dr. Cheryl Blume in this Neurontin Marketing Sales Practices and
       Products Liability Litigation
    4. FDA Alert of 1.31.2008. Information for Healthcare Professionals--Suicidality and
       Antiepileptic Drugs. CDER
    5. Antiepileptic Drugs Increase Risk of Suicide, but No Boxed warning Needed, Panel Says.
       July 18th, 2008. Pharmaceutical Law & Industry Report. Volume 6. Number 20.
       [accessed by SPKmd on 8.5.08. hItp://hedtlIcenter.i.com/pic2/he.nsf/icl/BNAP- .
       7GN_SRJ?OpenD.ocumcnl.]
    6. Sir Austin Bradford Hill's Guidelines, 1965 and thereafter
    7. Naranjo et al ADR Probability Scale as adapted by University of Arizona, College of
       Pharmacy.

                                        Case Synopsis
Susan Bulger, age 39, died at her home on August 4th, 2004. Her husband, Ron Bulger Sr.,
found her hanging in their basement and called 911 for help.

According to the Commonwealth of Massachusetts death certificate, Mrs. Susan Bolger died
from hanging. (Exhibit Ab) According to the Peabody Police Department, the manner of her
death was suicide. (Exhibit BB) Her toxicology report, performed by University of
Massachusetts Memorial Medical Center determined that she had benzodiazepines in her system
at the time of her suicide by hanging, but limited toxicological results did not detect alcohols nor
did they test for cocaine, opioids, barbiturates, non-steroidal analgesics, antidepressants, or
gabapentin. (Exhibit AA)

Mrs. Bulger previously had a prior history of substance abuse (Exhibits C, F, I, 0,. R) She was
treated for substance abuse (Exhibit I), including use of cocaine (Exhibit C), opioids, cannabis,
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 alcohol and nicotine. She also had a significant history of psychiatric symptoms (Exhibits JJ,
 GGG, HHH, III) and trauma(Exhibit A), including depression(Exhibit 0, HHH), anxiety(Exhibit
 WW), possible panic(Exhibit GGG), posttraumatic stress(Exhibit HHH), and chronic
 pain(exhibit SS), symptoms variously described by multiple providers over many years with
 diagnoses such as psychogenic pain disorder, major depression(Exhibits UU, GGG), dysthymia
 (Exhibit UU), possible bipolar disorder(Exhibits MM, PP, III, previous psychiatrists)
 posttraumatic stress disorder(Exhibit HHH), and panic disorder. Additionally, she suffered from
 chronic pain associated with disabling rheumatoid arthritis (RA)(Exhibits HH, II),
 gastroesophageal reflux disorder (GERD), gynecological problems, Hepatitis C (Exhibit G5),
 teeth removal secondary to gum disease and approximately 14 surgeries (Exhibits JJ, KK,
 others), successful and failed, mostly in connection with her RA symptoms. (Exhibit JJ)

Mrs. Bulger received her High School GED. She married Ron Bulger, Sr. on 3'1 March
1986.(Exhibit Af) She had two children including a son, Ron Bulger Jr., born    MINIM, 1987
and a daughter, MOW born on                 , 1999.(Exhibit Af) At the time of her death, her
children were ages 17 and 5, respectively.

In the years between high school and her death, Mrs. Bulger worked as a cashier in a grocery
store(Exhibit JJ), a bank teller in Danvers, MA and, subsequently, in the period from 2000-2002,
at the WH Smith Gift Shop at a Sheraton Hotel. Both she and her husband, a mechanic, were
unemployed (Exhibit Q) and receiving disability benefits at the time of her suicide.

 The medical records produced thus far in this case and reviewed by me present varied and
 conflicting images of her personal, interpersonal and marital life(Exhibits 0, P, Z, Aa), including
her relationship to her children and her family. For example, while she was occasionally able to
be employed (Exhibits JJ, others) and she and her husband had income from their respective
disabilities, the couple also filed for bankruptcy in 2002. Separately, while her children,
according to her sister Linda Landry, were perhaps the single most important part of her
life(Exhibits T, X) in 2004, Mrs. Bulger also had a history of having lost custody of her son, Ron
Bulger Jr., for a period of time, due to her abuse of substances earlier in her life. Several family
members, notably Mrs. Bulger's sister and brother, Linda Landry and James Gibbons, pointed
to problems in the Bulger marriage (Exhibits F, 0) and painted her husband, Ron, in a
destructive abusive light (Exhibits K,O, V, W). Testimony and medical records also reflect that
Mrs. Bulger reported at times that her husband was supportive but at other times abusive.

As I described above, there is various commentary about the vicissitudes of the life of Mrs.
Bulger that can be found throughout her medical records. From numerous reports of problems
that increased her risk and predisposed her to suicide(Exhibits Z, Aa,), even from individuals
who testified to the problems in Mrs. Bulger's relationship to her husband (Exhibits N, P, V, W),
with her substance use (Exhibits 0, G2) or psychiatrically(Exhibit 0), there was also evidence
that demonstrated she was `protected' from suicide because she enjoyed her life(Exhibits H, R),
was able to make her own decisions(Exhibit C), loved her children(Exhibit R, X) and was at
times supported by her husband. (Exhibit B).

Conflicted evidence also exists about her suicide history. (Exhibits 0) For example, the reports
from CAB (Center for Addictive Behaviors) noted on their intake sheets that she both answered
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yes and no to the same question re previous suicide attempts(Exhibits JJJ, KKK). Her sister,
Linda Landry, testified that none of Mrs. Bulger's previous "attempts" were in fact actual suicide
attempts at all, but rather either accidents or cries for attention and help

Mrs. Bulger took many medications during her lifetime. She received prescriptions which
included SSRIs (Prozac, Zoloft, Lexapro, Paxil), at least one SNRI (Effexor), as well as at least
two non-SSRI, SNRIs: nefazadone (Serzone-Bristol-Myers Squibb) and trazodone,
benzodiazepine and non-benzodiazepine anxiolytics (Klonopin, Ativan, Xanax, Valium, Buspar),
steroids (prednisone), opioids (oxycodone, short-acting and biphasic release (Exhibit SS);
methadone) and anticonvulsants Depakote and Neurontin (Exhibit VV, III). At the time of her
death, she had recent prescriptions for Neurontin, Methadone, Effexor ER (Exhibit G3),
Klonopin and OxyContin (Exhibit Ag, CC, 00). There was evidence that she was regularly
taking Effexor 187.50 mgs each day and Klonopin 1.0 mg three or four times per day before she
died and strong evidence that she consumed Neurontin 1200.00 mgs immediately prior to her
suicide (Exhibit D, BB, G4). Of those medicines, there is only evidence that she had a mixed
response, including seriously adverse responses, to Neurontin (Exhibit B, LL, QQ, WW, XX,
XXa, YY, CCC, III)

       Application of Sir Bradford Hill's `Guideposts' to the Question
                                of Causation
                        (See Addendum A for delineation of `guideposts')

                 Was Neurontin a significant contributory factor in Mrs. Bulger's suicidal
                 behavior and completed suicide?

   1. Strength of Association: Research from a number of sources, including the expert reports
      of Drs. Trimble, Blume and me as well as the clinical work established through the
      analysis of 199 clinical trials by the US FDA and as reported in the UDA FDA 31
      January 2008 Alert, conclude that there is a significant association between the risk of
      suicide and ingestion of Neurontin.
   2. Consistency: As demonstrated in my expert report, there are multiple studies, both in
      animals and in humans, which demonstrate Neurontin's GABAergic and anti-
      glutaminergic ability, and its ability to produce side-effects, such as dysphoria, mood
      changes, suicidal thinking and completed suicides.
   3. Specificity: Many factors increase the risk of suicide. Many factors protect individuals
      from committing suicide. Neurontin causes more side-effects than suicide and suicide is
      caused by more factors than this drug. However, Neurontin shares the specific
      GABAergic responses that other GABAergic drugs share in causing mood changes and
      suicidal behaviors.
   4. Temporality: Neurontin ingestion precedes the induction of mood changes and suicidal
      thinking. Those changes can occur in as little as hours after ingestion.
   5. Biological Gradient: Neurontin's effects can be dose-dependent. Higher doses can cause,
      among other problems and benefits, more somnolence, more restlessness, more delirium
      and more mood changes.
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    6. Biological Plausibility. Neurontin's neurobiochemical mechanism of action can increase
       GABAergic functionality that gives rise to significant mood changes.
    7. Biological Coherence. What is known about Neurontin's mechanism of action and
       mechanism of production of adverse effects and suicide potential is entirely consistent
       with the scientific research that explains the causative relationship between GABAergic
       drugs, anti-glutaminergic drugs and mood changes/suicidal behaviors.
    8. Experimental evidence. No RC trial has ever been conducted with suicide as an endpoint.
       However, the indirect evidence, including the accumulation of adverse event reports, and
       the evidence reviewed by the US FDA, demonstrates evidence that supports the causative
       relationship between Neurontin and susceptible individuals.
    9. Analogy: Neurontin is similar to other drugs, like pregabalin, topiramate and tiagabine
       (Gabitril), and Vigabatrin. All of these drugs have similar mechanism of action and all of
       them have demonstrated increased risk for suicide.

        Application of NARANJO ADVERSE DRUG REACTION
                        PROBABILITY SCALE
   Applying the guidelines from the Naranjo et al. publication to assess the cause of an adverse
   drug reaction (with the assumption that an adverse `reaction' to a drug may differ from an
   adverse 'reaction/behavioral response' to a medication), I obtained a score of 7, as noted in
   Addendum B. That score places the adverse event (AE) of suicide from Neurontin for Mrs.
   Bulger in the mid-range of a `probable' causative association.

    Some of the Evidence from Susan Bulger's Medical Records and the
Deposition Transcripts applicable to this litigation that were used to form the
                          basis of my conclusions:

To form the basis of my expert opinion, I relied on all of the information forwarded to me as
enumerated in the section under document review. From my personal review, including my
careful examination of Mrs. Bulger's medical and pharmaceutical history, I am able to support
the factual basis for the following statements:
     1. Susan Bulger committed suicide by hanging herself.
    2. Susan Bulger's limited post-mortem toxicology results showed that she had
        benzodiazepines in her system when she died. Neurontin was not tested for.
    3. Neurontin has been associated with depression, suicidal thinking and completed suicides.
        (2006 Physician's Desk Reference, Kruszewski Expert report re biological plausibility of
        gabapentin to produce mood changes, including severe depression and suicide; US FDA
        reports on 11 anticonvulsants, including gabapentin, in 2008; Expert report of Dr.
        Michael Trimble)
    4. Drs. Crognale(Exhibits DD, TT, others; Akabane(Exhibit EE) and Medwid prescribed
        Neurontin for Mrs. Bulger and Dr. Goldman prescribed Neurontin to Mrs. Bulger at the
        time of her death at a dose of 1200 milligrams per day. (Exhibit Ag;)
    5. Mrs. Bulger had experienced both benefit from, and serious adverse responses to,
        Neurontin in the period from 1999-2004. (Exhibits B, LL, QQ, WW, XX, XXa, YY,
        CCC, III)
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   6. According to Mrs. Bulger's medical records, Mrs. Bulger suffered significant proximate
        adverse effects from Neurontin that she specifically identified several years before she
        committed suicide. (See Exhibits B, QQ, WW, XX,CCC; Dr. Maris' comments of her de
        novo hopelessness from pages 24-25 of his report, as reported by her widower husband)
   7. According to deposition transcript records, Mrs. Bulger was making forward-looking
       plan with her sister immediately before her precipitous decision to suicide. (Exhibit S,
        W)
   8. In the months before her suicide, Dr. Goldman increased Mrs. Bulger's dose of Neurontin
       from 900mgs per day to 1200 mgs per day (Exhibits Ag, G4, G12).
  9. Neither Drs. Crognale nor Dr. Goldman believed that Mrs. Bulger was suicidal when they
       treated her. (Exhibits RR, G11)
   10. Of the medications that Mrs. Bulger was taking at the time of her death and for which we
       have evidence, Neurontin is the agent that is proximate, timely and biologically plausible
       to be a significant contributing factor causing Mrs. Bulger to commit suicide.(Exhibits D,
       Ag, CC, BB, QQ)
  11. Dr. Crognale testified that he did not believe that Mrs. Bulger's depression, anxiety or
       chronic pain caused her suicide.( Exhibits DDD, FFF)
  12. According to the depositions of Drs. Crognale and Goldman, and lacking any comments
       to the contrary from any source, neither doctor warned Mr. or Mrs. Bulger that Neurontin
       had the potential to induce serious emotional and behavioral disturbances in certain
       individuals. (Exhibit EEE)
  13. In regard to prescribed or illicit substances, there was no history of significant changes of
       prescribed medications or onset of recent re-utilization of illicit or use of other toxic
       substance to account or explain Mrs. Bulger's precipitous decision to commit suicide.
       (Exhibit E)
  14. There is reason to believe that, were it not for the prescription of Neurontin, Mrs.
      Bulger's mental status would not have deteriorated to the point that suicide became an
      option for her.
  15. Mrs. Bulger's abrupt decision to commit suicide was temporally related to, and caused
      by, her ingestion of 1200 milligrams of Neurontin.
  16. The basis to support Neurontin's role in causing Mrs. Bulger's suicide is supported by
      application of Bradford Hill guideposts and Naranjo criteria (Addendum A, B along with
      explanations and application as noted above.)
  17. Neither Drs. Crognale nor Goldman discussed the serious mood-altering capabilities and
      risks of suicidal thinking, intent and behavior associated with Neurontin. (G6, NN) Both
      doctors were poorly informed (G8) and misinformed about the risks associated with
      Neurontin. (G9, NN, BBB)
  18. Pfizer's pharmaceutical interactions with Drs. Crognale and Goldman[(both physicians
      having described interactions with Pfizer representatives(G7, G1, ZZ )] could not have
      appropriately educated these physicians about the suicide risks associated with Neurontin
      because Pfizer, Inc., even to this day {Antiepileptic Drugs Increase Risk of Suicide, but
      No Boxed warning Needed, Panel Says. July 18 th, 2008. Pharmaceutical Law & Industry
      Report. Volume 6. Number 20. [accessed by SPKmd on 8.5.08.
      htt•://healthcentcr.bna.conar'Vc2ihe.nsf%id BNAP-7GNSR.i?OenDocument contends
      publicly states that Neurontin is not suicidogenic, contrary to the findings of the US FDA.
      (G10, Gil).
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    19. In the case of detailing Dr. Crognale, Pfizer representatives apparently specifically mis-
        informed the doctor about the side-effect of somnolence associated with Neurontin, as
        Dr. Crognale testified that he was detailed by Pfizer that, `counterintuitively ' Neurontin ' s
        "side effect of sedation improves with increasing doses." (Exhibit ZZ, AAA)



                                          Conclusions
Based upon the information provided to me, some of which is highlighted in the above point-by-
point synopsis and buttressed by my exhibits, attachments, and addendums, I am able to assert
my conclusions based upon a reasonable degree of medical and psychiatric certainty.

During the time that I spent reviewing Mrs. Bulger's records and the deposition transcripts in her
case, I was confronted with many factors that placed her at risk for suicide---as well as ones that
protected her from suicide. Dr. Maris, in his expert report, has already outlined many of those
issues. I considered what was known about what generally confronted her during her life and,
more specifically what was happening at the time that she decided to end her life. I am aware
that there is, in virtually any suicide, a precipitating event.

I examined the issues that increased Mrs. Bulger's risk of suicide: her history of purported
emotional trauma as a youngster, absent or negative parenting, foster care, placement of her son
in foster care, substance abuse, rheumatoid arthritis, other medical problems, chronic pain,
marital problems, financial problems; depression, anxiety and posttraumatic stress; mixed
reports, including previous specific adverse reports from the use of Neurontin and the re-
prescription and continuing use of Neurontin in a patient with a psychiatric history and I
examined the factors that protected her from suicide: a high school GED, her femaleness,
treatment for substance abuse, recovery from substance abuse, raising her children, especially
her five year old daughter (Exhibits B, GGG), positive response to certain antidepressants
(Exhibits G3, LL), intermittently successful treatment for psychiatric symptoms(Exhibit W), a
supportive sister, and a forward future outlook prior to the immediate decision to commit
suicide(Exhibit W). After careful review and consideration, I am able to conclude that Mrs.
Bulger had many risks for suicide and many protective features against suicide, but that she was
one of the susceptible minority of individuals(particularly, but not exclusively, because of her
history of documented premorbid adverse effects from Neurontin and the documented ability of
Neurontin to precipitate suicidal thinking and suicidal behaviors in certain individuals) where
Neurontin was a significant contributing factor in her suicide. I am able to conclude that Mrs.
Bulger's ingestion of Neurontin was a substantial contributing factor to her suicidal behavior and
completed suicide.

It is also my conclusion that Pfizer, Inc is accountable for Mrs. Bulger's untimely death because
Pfizer failed to adequately inform health professionals, including Drs. Crognale and Goldman,
about the ability of Neurontin to precipitate significant deterioration in mood and increase the
risk of suicide that does, in susceptible individuals, lead to completed suicide.
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I am able to rigorously defend these conclusions, made within a reasonable degree of medical
and psychiatric certainty, in any US Court of Law.




                                                 EXHIBITS

Exhibit A: Deposition of Rosenberg, Chaim, MD (Bulger) on 612612008, page 21
lines 14-23.
        "Sue's background is quite traumatic" This is the next paragraph, "She describes her mother as
       a paranoid schizophrenic and she was beaten by her mother. One of her brothers was allegedly
       molested and died in the apartment of a New York State Congressman. The cause of death was
       Cocaine dependence but Sue suspects even more foul play than that. It is very hard to keep in
       front of all these events in her life."

Exhibit B: Verbatim Citations from Susan Bulger's Records: Dr. Crognale's
Deposition
       Mr. Chaffin (Line 12-15, Page 131) asks Dr, Crognale to remember that Mrs. Bulger had been
       previously prescribed Neurontin with a significant adverse earlier (year 2000) experience:

                 "Please, Mrs. Bulger mentioning to you in November of 2000 that she had been on
                 Neurontin and it made her feel out of it. Do you remember that?"

       Dr. Crognale says that he remembers that Neurontin-induced adverse event at the end of October
       [of 2000,]

       In the deposition of Dr. Crognale, Susan Bulger's physician notes that Mrs. Bulger's depressive
       symptoms worsened shortly after her Neurontin was re- started. Specifically, Dr. Crop-tale
       testifies that he began the prescription for Neurontin in May of 2002(line 3-4, page 128), and, by
       the appointment on 02 July 2002, Mrs. Bulger was feeling more depressed. Dr. Crognale's
       medical progress note on that date said:

                 "Sue comes in today initially accompanied by her husband Ron and daughter. Ron at the
                 outset of the interview states that he is very concerned about his wife and her depression
                 which has been goin g on for two to three months."

       Mr. Chaffin correctly identifies in ensuing questions to Dr. Crognale that Mrs. Bulger has been
       depressed previously in her life and from the outset of his treatment of her,( Lines 18-23, page
       132 and lines 7-9. page 133) However, Dr. Crognale continued to assert the specific changes in
       Mrs. Bulger ' s depression in July of 2002 (lines 10-24, page 133; lines 1-13, page 134) when he
       reads from his own progress notes:
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Exhibit G: Deposition of Gibbons, James Jr (Bulger) on 6/19/2008, page 26 lines
13-24

       "A. Well, Ronny had me go to a number of doctors that he'd been to, and he wanted me to go
       there and give him a very high percentage of what I got for, you know, the information, like five or
       six different doctors.
       Q. So he had you go to doctors, and tell the doctors what?
       A. Well, a list of symptoms that would help me get the things he wanted me to get.
       Q. And what was it he was wanting you to get?
       A. Mainly Oxycodone, Percocet, OxyContin"

Exhibit H: Deposition of Gibbons, James Jr (Bulger) on 6/19/2008, page 42 lines 5-
16

       Q. And why were you not worried in June of 1998?
       A. Well, I thought she was fairly happy with, you know, motherhood and the fact that she was
       expecting another child. She was really, really, really happy about that, you know, the baby girl
       she was going to have, and she was just in her own world. She was straight, not using anything,
       you know, going out shopping, buying the baby all kinds of things. She was just very, very happy,
       I mean you could just see it on her face, it was radiating.

Exhibit I: Deposition of Gibbons, James Jr (Bulger) on 6/19/2008, page 45 lines 9-
17

      Q. Do you know if she ever stopped using illegal drugs?
      A. Yes.
      Q. When do you think she stopped?
      A. Well, I know she stopped in '97 and '98 when she was expecting the child.
      Q. And then did you ever see Susan again after June of 1998?
      A. No.

Exhibit J: Deposition of Gibbons, James Jr (Bulger) on 6/19/2008, page 47 lines
20-24 & page 48 lines 1-4

      Do you have any recollection of Susan or Ron accusing you of spray painting their car?
      A. Yeah.
      Q. Can you tell me about that, what you recall?
      A. I poured some water in the gas tank.
      Q. You poured some water in their gas tank?
      A. Yeah.

Exhibit K: Deposition of Gibbons, James Jr (Bulger) on 6/1912008, page 57 lines 2-
4
      Q. In your opinion, was Ron Bulger a con man?
      A. Oh, yes.

Exhibit L: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 9 lines 14-17

      THE WITNESS: Because he told me that's what he was there to do, and he gave me one.
      Q. He gave you a methadone tablet?
      A. Yes, he did.

Exhibit M: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 19 lines 14-16
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                  "She is crying on a regular basis. She has not had any suicidal ideation either passive or
                  active."
                  And---
                  "She hates her life as it stands. She is demotivated, anhedonic and has difficulty with
                  sleep."
                  And----
                  "She calls herself a shelf a person. She denies any abuse in the home and feels well
                  supported by her husband. She has a counselor who she sees on a regular basis at CAB
                  and feels well supported there as well. She self d/c'd her Paxil approximately one week
                  ago as she felt it was not helping."

        Mr. Chaffin asks Dr. Crognale (lines 15-24, Page 136) whether Mrs. Bulger ' s new complaints of
        depression suffered after re-starting the Neurontin in 2002 were in any way different from her
        previous complaints of depression. The answer was ` yes. Significantly, Dr. Crognale says in
        his deposition that Mrs. Bulger's was "subjectively more depressed" and that her complaints
        were "more emphatic."

Exhibit C: Deposition of Rosenberg, Chaim, MD (Bulger) on 6/26/2008, page 22
lines 10-12.

"She has been off Cocaine for the past month and is trying to get her house and life back in order."

Exhibit D: Deposition of Gravini, Matthew (Bulger) on 6/27/2008, page 33 lines 3-5,
7-9, 14-16; page 34 lines 23-24 & page 35 lines 1-5.

        "Okay. So the sentence that begins, "Bulger stated that his wife" -- this is about seven lines down,
        do you see where I am? ..."stated that his wife, whom he identified as Susan E. Bulger DOB
        12/14/64, went downstairs to go to bed at about 6 PM"... "after taking four Neurontin, which had
        been prescribed for depression." That's information that you received from the Peabody Police
        officers?...

       When Ronald Bulger subsequently told you that she had taken Neurontin -- the Neurontin before
       she went downstairs, that was consistent with what you had been --
              A. Yes.
              Q. -- told he had said
              A. I believe so, yes. Yes."

Exhibit E: Deposition of Gravini, Matthew (Bulger) on 6/27/2008, page 46 lines 23-
24 & page 47 lines 1-2

       "-- did you see any illegal drugs? Did you see anything that might have looked like cocaine or
       heroin or anything of that nature?
       A. No."

Exhibit F: Deposition of Gibbons, James Jr. (Bulger) on 6/19/2008, page 16 lines
4-11

       "My sister used to come over to my house complaining all the time that she was in pain. And I
       said "well, where's your medicine?"' She said "well, Ronny took it and sold it." And not only did he
       take it and sell it, but then he'd make her go out and buy shit off the streets to help deal with her
       pain, you know, like coke and crack and shit like that."
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       Q. And when was that?
       A. See, I was in a coma and stuff in 2004 after the cancer, so it's hard for me to remember.

Exhibit N: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 16 lines 12-18

       Q. Did you have contact with Ron, her husband?
       A. No, We basically -- he did not like us to communicate.
       Q. He didn't like you and Susan to communicate?
       A. No, because I would straighten her out, and she would go to leave him. And that's what the
       plan was before this all happened.

Exhibit 0: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 47 lines 6-10

      A. Yes, she had. She always -- when she did it, when she would get depressed because she
      would get into the drugs, and it would be with Ronny, she would slice her wrists or take pills. She
      would never hang herself. Never, never, never.

Exhibit P: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 50 lines 16-19

      Q. So you don't know --let me go back. You don't know of any physical abuse by Mr. Bulger?
      A. No.

Exhibit Q: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 56 lines 11-12

      Q. Did your sister work?
      A. No.

Exhibit R: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 58 lines 19-21

      A. Yes. Actually, it was from the drug-use she miscarried. That's why she was so happy when
      she had            That's why she stopped it all.

Exhibit S: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 60 lines 3-6

      A. Oh, yes. She was. She was coming to live with me.
      Q. But then -- she told you that?
      A. Yes.

Exhibit T: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 70 lines 9-13

      Q. Would you say that her children were the one -- if nothing else, one of the -- the one bright
      spot in her life?
      A. Yes, it was, especially after    - was born.

Exhibit U: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 71 lines 6-9

      Q. Did -- now, did I hear correctly that your hus -- your ex had hit you with a frying pan, or
      something like that?
      A. Yes, he did.

Exhibit V: Landry, Linda Deposition (Bulger). 6/27/2008,. Page 17 lines 12-17.
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        "...because Ronny had this control over her, and he knew how to use the drugs to get her back,
        and she was afraid she couldn't make it without him. And he would tell her he would take the son
        away, and she was afraid because he had family, and we didn't."


Exhibit W: Landry, Linda Deposition (Bulger). 6/27/2008. Page 75 lines 22-24, page
76 lines 1-3.
        "She [Susan Bulger] was getting up to leave him[Ron Bulger, Sr.], and he knew she meant it this
        time because I was standing behind her. He heard us on the phone. She would never hang
        herself, not in the house with her child or anything else."


Exhibit X: Deposition of Landry, Linda (Bulger) on 6/27/2008, page 83 lines 10-14

       Q. Okay. In fact, my understanding is that her daughter,     ‘Ollr, was sort of like the love of her
       life. Would that be an accurate assessment, ma'am?
       MR. CHAFFIN Objection.
       A. Yes, It would.


Exhibit Y: Deposition of McEachern, Barry (Bulger) on 7/1/2008, page 21 lines 7-16
          .. and the first person I met walking through the door before I went down in the basement is like
       this little eight-year old girl walks up saying, you know, "is mommy going to be all right," in which
       case, you know, the heart ratchets down a couple levels. So that was like pretty sad.
       Downstairs the husband seemed pretty obviously distraught, didn't really talk to him too much. "

Exhibit Z: Rouhandeh JP, Sayler SW, Chaffin DB. Defendants' Supplemental
Submission in Further Support of Motion to Compel Mr. Bulger's Records (Docket
#1316). Motion relating to: Bulger v. Pfizer, et al., C.A. No. 07-11426-PBS. Master
File No. 04-10981. US District Court, District of Massachusetts. p. I.

       Mrs. Bulger's medical records indicate that she had several serious risk factors that explain her
       suicide, including a long-term substance abuse problem, depression, chronic pain, and a
       conflictual and abusive relationship with Mr. Bulger, who was also a drug user.

Exhibit Aa: Rouhandeh JP, Sayler SW, Chaffin DB. Defendants' Supplemental
Submission in Further Support of Motion to Compel Mr. Bulger's Records (Docket
#1316). Motion relating to: Bulger v. Pfizer, et at., C.A. No. 07-11426-PBS. Master
File No. 04-10981. US District Court, District of Massachusetts. p. 2.

       ... the suicide risk factors in her home at that time (e.g., marital conflict and other social
       stressors).

Exhibit Ab: Commonwealth of Massachusetts Standard Certificate of Death. Susan E. Bulger. Date
of Death: August 4, 2004. Date of Record: August 9, 2004
        Immediate cause of death: hanging

Exhibit Ac: Defendants Answer to Complaint in relation to: RONALD 1. BULGER,
SR., as Administrator of the Estate of SUSAN BULGER, Deceased v. PFIZER, INC.
and PARKEDAVIS, DIVISION OF WARNER-LAMBERT COMPANY, No. 07-CA-
11426-PBS. MDL Docket No. 1629. Master File No. 04-10981.
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       TENTH AFFIRMATIVE DEFENSE
       To the extent Plaintiff claims product liability, Plaintiffs claims are barred by the doctrines
       described in Sections 6(c) and (d) of the Restatement Third of Torts: Products Liability.
       Reasonable physicians knowing of the reasonably foreseeable risks and therapeutic benefits
       associated with Neurontin would have prescribed and did prescribe Neurontin for classes of
       patients. In addition, Defendants provided prescribing physicians with reasonable instructions or
       warnings regarding foreseeable risks of harm.

Exhibit Ad: Richer MP. Plaintiff's Rule 26(a)(1) Disclosures: In re: NEURONTIN
MARKETING, SALES PRACTICES AND PRODUCTS LIABILITY LITIGATION.
Relates to: RONALD J. BULGER, SR., as Administrator of the Estate of SUSAN
BULGER, deceased: 07-CA-11426-PBS. 1-25-2008. p. 1.

   The following witnesses may be used to support the claims of the plaintiff, herein:
      1. Police and ambulance personnel who responded to/investigated the incident,
          including Peabody Police Dept, 6 Aliens Ln, Peabody, MA 01960;
          Massachusetts State Police, 407 Worchester Rd, Framingham, MA 01702;
          Peabody Fire Dept, 41 Lowell St, Peabody, MA 01960; and Northshore
          Ambulance, 63 Grove St, Salem, MA 01970;
      2. Neurontin prescribing physician Dr. Richard Goldman, 873 Worcester St.,
          Wellesley, MA 02482;


Exhibit. Af: Richer MP. Plaintiff's Response to Defendants' First Set of
Interrogatories. RONALD J. BULGER, SR., as Administrator of the Estate of
SUSAN BULGER, deceased: 07-CA-11426-PBS. 1-25-2008. p. 6.

       Plaintiff and decedent were married 3/31/86 in Rhode Island.
       Decedent is the natural parent of Ronald Bulger, Jr., son, dob   00187, and
       daughter,9.

Exhibit Ag: Richer MP. Plaintiff's Response to Defendants' First Set of
Interrogatories. RONALD J. BULGER, SR., as Administrator of the Estate of
SUSAN BULGER, deceased: 07-CA-11426-PBS. 1-25-2008. p. 20-21.

      The names and addresses of prescribers are as follows:
      Dr. Richard Goldman, 873 Worcester St, Wellesley, MA 02482;
      Neurontin
              Dr. Goldman-300mg/3xs day-10/25/03-6/17/04; 300mg/4xs day-7/12/04
      Oxycontin
              Dr. Goldman-40mg/3xs day-10/8/03-7/12/04
      Methadone
              Dr. Goldman-...10mg/14xs day-7/12/04; 10mg/15xs day-6/14/04
      Prednisone
              Dr. Goldman-10mg/1 x day-1 0/8/03-5124/04
      Clonazepam
              Dr. Goldman-...1mg/4xs day-6/8/04-7/20/04
      Effexor XR
              Dr. Goldman-...37.5mg/1 x day-7/12104
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Exhibit AA: Evans, Richard MD. UMASS Memorial Medical Center Laboratory Tests:
CASE,CME04-2317: Sandra Bulger. Worcester, MA. Received: 9/1/04, 1430. Run
on:10/5/04, 1034.

     Benzodiazepine screening test positive.

Exhibit BB: Peabody Police Department. Narrative for Patrol Sean Dowd, Ref: 04-3052-
OF.
     Before going downstairs she took 4 Neurontin as prescribed (she suffered from depression).

Exhibit CC: The Medicine Shoppe #0500. Medical Expenses for Susan Bulger from
1/1/2004-4/8/2005. Beverly, MA 01915.

     7/12/04 Effexor XR 37.5mg, 30 cap
     7/12/04 Effexor XR 150mg c, 30 cap
     7/12/04 Neurontin 300mg ca, 120 cap
     7/12/04 Methadone 10mg, 420 tab
     7/12/04 Oxycontin 40mg tab, 90 tab
     7/20/04 Clonazepam l mg tab, 60 tab

Exhibit DD: Walgreens Store #02325. Purged Data for Store #02325 re: Bulger, Susan.
11/10/04. p. 36466.

     RX 0439808 NEURONTIN 300MG CAPSULES
     CROGNALE, D
     SIG: TK 3 CS PO BID FOR 30 DAYS
     04/14/2003 Qty:180 Refills:2 Fill Qty:30

Exhibit EE: Walgreens Store #02325. Purged Data for Store #02325 re: Bulger, Susan.
6/5/01. p. 77356.

     RX 0256643 NEURONTIN 400MG CAPSULES
     AKABANE, Y
     SIG: TK 1 C PO TID
     01/07/2000 QTY:90 REFILLS:0 DAYS SUPPLY:30

Exhibit FF: Confidential-000376-25AMD-00008. Appointments for Susan Bulger.

     Friday, Aug 6, 2004 at 9:30 AM in Wellesley
     Dr. Richard S Goldman MD - follow-up of 7-12-04
     This Appointment was created by Rhona Hayes, Monday, Jul 12, 2004
     Not Confirmed
     No Show
     Monday, Jut 12, 2004 at 9:30 AM in Wellesley
     Dr. Richard S Goldman MD - follow up
     This Appointment was created by Ms. Leslie Power, Monday, Jun 14, 2004
     Not Confirmed
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     [C] ompleted

Exhibit GG: Confidential-000376-25AMD-00017. Encounter Note by Dr. Richard S
Goldman MD (DOS: 07/12/2004). Patient: Bulger, Susan E.

     Sue returns today for follow up. She's doing pretty well overall. She's taking her pain
     medications as prescribed, and its keeping her under pretty good control pain-wise. She is
     not having any new problems at this time.        Confidential. 000376.25AMD.00030

Exhibit HH: Confidential-000376-25AMD-00030. Robinson, Dwight MD. Visit Note:
Susan Bulger. Internal Medicine Associates - Primary Care Program. 5/9/96.

     Major Problems: Rheumatoid Arthritis
     She has destructive disease of mostly the upper extremities with recent constructive surgery but
     her main problem is for the past 2 months severe pain in the (R) elbow. On examination today she
     has some effusion and some bony deformity...

     She has been through numerous medications including three courses of myochrisine and a course
     of methotrexate which left her depressed and caused significant hair loss. She's also been on a
     course of Imuran...

Exhibit II: Confidential-000376-25AMD-00031. Robinson, Dwight MD. Visit Note:
Susan Bulger. Internal Medicine Associates - Primary Care Program.4/11/96.

     Laboratory Tests: Hematology
       Erythrocyte sedimentation rate: *49
     Laboratory Tests: Microbiology and Serology
       Rheumatoid factor: *468

Exhibit JJ: Confidential-000376-25AMD-00087. Abdi, Salahadin MD & Borsook,
David MD, PhD. Letter to Dwight Robinson, MD Re: Susan Bulger, MGH# 340-98-
62. Sept 18, 1995. p.1.

    ...she recently started working as a cashier in a supermarket.
    Her past medical history is significant for rheumatoid arthritis, and she has had multiple surgeries in
    the past, starting in 1984, to 1994, about 9 times with different joints involved, including both wrists,
    both elbows, and the right ankle. She had right foot surgery twice in the past. Her psychiatric history
    is significant for seeing many psychiatrists in the past, and she is still seeing a psychiatrist. She
    smokes, and denied taking any alcohol.

Exhibit KK: Confidential-000376-25AMD-00087. 0' Flynn, Hugh MD. Operative
Report for Susan Bulger: 3-11-2003.

    Postoperative Diagnosis: Failed right total elbow replacement with olecranon nonunion.
    Operation: Revision, right total elbow replacement; excision of distal proximal portion of olecranon.

Exhibit LL: Crognale, Dino MD. Progress Notes, Susan Bulger. 5/16/03. p.1.

    Regarding her depression, she feels like Lexapro 20 mg in combination with Neurontin 300 mg qhs
    seems to be improving her mood stability. She feels less depressed and anxious. Feels more even.
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Exhibit MM: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 58 lines
7-9.

     A. She had depression.
     Q. Was she bipolar?
     A. I don't believe so.

Exhibit NN: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 61 lines
5-11.

     Q. Doctor, resuming, are you aware of any epidemiological studies that have demonstrated any
     association between the use of Neurontin or gabapentin and suicide or suicide attempt?
     A. I am not.
     Q. Have you looked for any such studies?
     A. No.

Exhibit 00: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 78 lines
6-14.

     Q. And the evidence was that Mrs. Bulger was being prescribed the OxyContin but wasn't was not
     ingesting it?
     A. It's more complicated than that.
     Q Okay, Can you explain?
     A. People metabolize these medications differently, and because of that sometimes drug testing,
     urine testing can be inconclusive.

Exhibit PP: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 79 lines
18-21.

     "With regard to her prior psych history, she has in the past been told by psychiatrists and by Dr.
     Mengel that there was a possibility that she had some bipolar disorder."

Exhibit QQ: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 80 lines
4-8.

    A. I do not believe she was bipolar.
    Q. And she goes on -- you go on to write "she had been on Depakote which gave her significant
    diarrhea and Neurontin which made her completely out of it. "

Exhibit RR: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 83 lines
23-24, page 84 lines 1-4.

    Q. Actually, Doctor, it was -- you frequently inquired of her about whether she had any suicidal
    thoughts, right?
    A. Yes, I did.
    Q. Did she ever express to you that she had any suicidal thoughts?
    A. Not to my recollection.

Exhibit SS: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 95 lines
11-20.

    "regarding her chronic pain issues from rheumatoid arthritis, she does continue to have aches and
    pains in various areas. She controls these using the OxyContin at her discretion. She has some
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     days better than others. She uses up to 4 to 5 per day; some days she needs much less than that.
     She does, however, have some problems when she calls in for her script, she feels like she is
     getting somewhat harassed by the nurses if she calls too early."

Exhibit TT: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 127 lines
22-24, page 128 lines 1-4.

     Q. I'm going to show that to you, Doctor. Could you take a look at that and tell me if you can
     determine from Exhibit 5 when you first prescribed Neurontin for Mrs. Bulger?
     (Witness reviewing document.)
     A. According to Exhibit 5, it looks like the first time was in May of 2002.

Exhibit UU: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 139
lines 2-12.

     A. So to correct that, her circumstances created in her a negative perception of life, and so that's
     what made her dysthymic. That was a baseline. In-between she would have blips where she would
     get truly depressed, and that is what I think you're seeing over these last couple of notes, is a
     major, what we call major depression where there's a succinct period of time that the level of
     depressive symptoms are elevated, and then with treatment generally become under control.

Exhibit W: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 144 lines
6-16 and 20-22.

     Q Now, under your normal practice, would you have been assessing Mrs. Bulger during this period
     of time with respect to her reaction to the Neurontin?
     A. Yes.
     Q. And looking for any signs of adverse effects?
     A. Yes.
     Q. And if you had seen any, would you have noted them?
     A. Yes.

Exhibit WW: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 147
lines 14-20.

     Q "She feels that there has been an increase in her depression, primarily secondary to her 15-year
     old dog dying. She is also becoming more anxious. She was taking Prozac 60 milligrams and would
     like to increase to 80. She also had recently started Neurontin for her chronic pain. However,
     stopped that because she felt it was making her more moody.

Exhibit XX: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 149 lines
8-15.

     Q. And what does that mean, "will reintroduce Neurontin"?
     A. It means that we're going to restart it. She had stopped it on her own, and I restarted it, or I
     suggested that she restart it.
     Q. And why is that?
     A. It's not clear from the record.

Exhibit XX: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 150 lines
19-23.

     This is you reintroducing the Neurontin?
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     A. Yes.
     Q. And this was for pain?
     A. Yes.

Exhibit XX: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 157 lines
1-5.
     Q. And then "2. Will fill out prior authorization for Neurontin 300 milligram 3 tabs PO BID, which is
     helping her significantly regarding both her affective disorder and her pain syndrome."

Exhibit YY: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 161 line
24, page 162 lines 1-4.
     "-- seems to be improving her mood stability. She feels less depressed and anxious. Feels more
     even. Is having no significant side effect. Neurontin is also helping her to sleep better."

Exhibit ZZ: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 166 line
24, page 167 lines 1-11 and 16-18.

     A. Did you receive -- do you recall receiving any information directly from any representative of
     Warner-Lambert, Parke-Davis or Pfizer about Neurontin?
     A. Yes
     Q. Could you describe what the information was and how you got it?
     A. The only recollection I have of any information from a drug representative directly is in a
     conversation with a drug rep who mentioned that the side effect of sedation improves with
     increasing doses.

     Q. So, in other words, the more you take the less you're sedated?
     A. Yes

Exhibit AAA: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 169
lines 5-10.
     A. The exchange would have been in context of the representative telling us about the medication,
     and in discussion of side effects making an emphasis that this was one side effect that improved
     counter-intuitively with dose.

Exhibit BBB: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 201
lines 4-8.

     Q. What do you understand the product insert to say regarding mood and behavioral disturbances?
     A. That it is -- it is a common reaction.

Exhibit CCC: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 202
lines 3-7.

    A. Yes I was very aware for side effects for her.
    Q. Related to Neurontin?
    A. Yes, because she had a prior history of not doing well on Neurontin.

Exhibit DDD: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 217
lines 15-24.
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     Q. The depressions that you've described as ebbing and flowing with Miss Bulger, did that ever at
     any time, did you believe, create an imminent suicidality for her?
     A. No, I do not.
     Q. And the anxiety that you believe that you observed and set forth in your records, did you ever
     believe the anxiety created imminent suicidality?
     A. No, I did not.

Exhibit EEE: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 218
lines 12-13.

     A. No, I don't have any recollection of any conversation about suicidality.

Exhibit FFF: Deposition of Crognale, Dino MD (Bulger) on 3/25/2008, page 220
lines 4-11.

     Q. And my next question is; the chronic pain that she had, whether it was from the rheumatoid
     arthritis or some other underlying indication, did that make her an increased risk of suicide in your
     opinion?
     A. As an individual, no.
     Q. I'm asking specifically to her.
     A. Specifically to her, no.


Exhibit GGG: Crognale, Dino MD. Progress Notes: Susan Bulger. 7/16/02. Date
printed: 12/05/07. Page 20-21.

     Major Depression with severe Dysthymia; panic attacks.
     Her husband is being supportive, doing some of the work at home.

Exhibit HHH: Crognale, Dino MD. Progress Notes: Susan Bulger. 2/23/01. Date
printed: 12/05/07. Page 45-46.

     Sue comes in today in flu of her depression... She states that her relationship with her husband is
     good although this comment does make me somewhat suspicious. She denies any current abuse
     but does have a long history of abuse and PTSD related to that. She denies suicidal or homicidal
     ideation.

Exhibit Ill: Crognale, Dino MD. Progress Notes: Susan Bulger. 10/30/00. Date
printed 12/05/07. Page 53-54.

    Moderate Depression, ? Bipolar; RA
    Reason for visit: flu meds
    With regard to her prior psych history, she has in the past been told by psychiatrist and by Dr.
    Mengel that there was a possibility that she had some bipolar disorder. She had been on Depakote
    which gave her significant diarrhea and Neurontin which made her completely out of it.

Exhibit JJJ: Confidential-000376-21 CAH-00015. Medwid, William MD (5/31/02),
unknown (illegible) R.N.P. signature (5/22/02). Medical History: Susan Bulger.
Center for Addictive Behaviors Health Center.

     Ever Suicide Attempt: Y N [The Y is NOT circled]
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Exhibit KKK: Confidential-000376-21CAH-00022. Medwid, William MD (5/31/02),
unknown (illegible.., though appears to be same signature as Exhibit JJJ, above)
R.N.P. signature (5/22/02). Medical History: Susan Bulger. Center for Addictive
Behaviors Health Center.

      Ever Suicide Attempt: Y N [The Y IS circled]
      When? Intoxicated att...: 1982 yes

      [The same takers of medical history have endorsed conflicting information for this question on two
      different dates.]



Exhibit G1
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 48 Line 5 to
Line 12
        "Q. Have you seen representatives of Pfizer or Warner-Lambert or Parke-Davis? A.
       Ever? Q. Ever. A. Yes Q. Have you discussed Neurontin with any representatives of
       Pfizer, Warner-Lambert or Parke-Davis, if you can recall? "A. I don 't recall specifically
       any conversations specific to Neurontin. "

Exhibit G2
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 72 Line 13 to
Line 14
        "I have no specific recollection of having suspicions of substance abuse."

Exhibit G3
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 121 Line 2 to
Line 11
        "Q. So this indicates that the Effexor was helping her with the symptoms for which you
       had prescribed it? A. Again, specifically I don't know why she was feeling belter, but it
       does suggest that getting back on the Effexor -- or being off the Effexor was making her
       feel lousy, being back on it made her feel better. And as I said, it says "she now realizes
       that it is helping, "so I assume that means that she felt better on it."

Exhibit G4
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 124 Line 2 to
Line 7
       "Q. Okay. Down below at the end of the discussion section, "I also added Neurontin 300-
       milligrams in the a.m. along with her 900-milligram at HS." Do you see this? A. Yes."



Exhibit G5
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 128 Line 8 to
Line 10
        "A. It says here Hepatitis C is a type of -- it's a viral infection, it 's a hepatitis virus of the
       liver called Hepatitis C."
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Exhibit G6
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 132 Line 19 to
Line 23
        "Q. Okay. Now, having gone through these encounter notes, did they refresh your
       memory at all about any discussions you may have had with Mrs. Bulger about Neurontin
       in particular? A. No, nothing specific. "

Exhibit G7
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 173 Line 14 to
Line 16
        "Q. Have you ever gone to any dinners sponsored by Pfizer? A. I'm sure I have."

Exhibit G8
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 176 Line 21 to
Line 23
        "Q. How -- and 1 believe you've already testified you don't know what necessarily
       Neurontin is approved for?"

Exhibit G9
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 190 Line 1 to
Line 11
        "Q. Did you advise Susan. at any time while she was taking Neurontin that she should be
       on the lookout for the emergence of any anxiety? A. I have no specific recollection of
       asking her or telling her to look out for specific anxiety symptoms, no. Q. Did you
       communicate to Susan to be on the lookout while she was on Neurontin for any increases
       of agitation or hostility? A. I have no specific recollection of that, no."

Exhibit G10
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 192 Line 18 to
Line 22
        "Q. Did you conduct any type of suicide risk assessment when you initially started
       treating with -- started treating Susan Bulger? A. I have no specific recollection of doing
       a specific suicide risk analysis."

Exhibit G11
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 199 Line 2 to
Line 3
       "A. No, I had no reason to believe that Susan was at high risk for suicide. "


Exhibit G12
Deposition of Richard Goldman MD taken April 22, 2008 starting on Page 212 Line 7 to
Line 17
       Q. Now, in your records on Page 20. A. My records, yep. Okay. Q. You went over this
       earlier where you said you added 300 milligrams in am along with 900 milligrams in the
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         evening. A. Right. Q. -- on 4/12/04. A. That is correct. Q. But the pharmaceutical records
         that we just reviewed reflect that change in dosage July 12th, 2004, correct?"



 Addendum A
 Application of Sir Bradford Hill `guideposts' to determination of
 causation in Neuropsychiatry

 "Sir Austin Bradford Hill proposed criteria to guide establishing an argument of causation
decades ago when reviewing evidence in support of a causative role for occupational and
lifestyle factors in producing a number of disease states (such as various cancers). These criteria
have since been widely applied. = " However, their relevance to establishing a causative role of
brain dysfunction in producing changes in Behavior has not been critically examined. Nor have
these criteria been frequently applied in the literature related to disorders that affect the function
of the brain. It may well be that some of these criteria are not appropriate, or feasible, for
establishing an argument of causation in neuropsychiatry. Our goal in this article is to facilitate
and encourage the use of rigorously applied criteria for establishing arguments of causation in
neuropsychiatric research. To do so, we review Bradford Hill's criteria in terms of their
importance to establishing an argument of causation for brain dysfunction in producing changes
in Behavior and in terms of challenges and opportunities relevant to neuropsychiatric research.
Examples of causation arguments, including those for poststroke depression and psychiatric
disorders after traumatic brain injury (TBI), are briefly presented to highlight the potential
importance of these criteria.

Bradford Hill's criteria have been summarized- as including 1) the demonstration of a strong
association between the causative agent and the outcome, 2) consistency of the findings across
research sites and methodologies, 3) the demonstration of specificity of the causative agent in
terms of the outcomes it produces, 4) the demonstration of the appropriate temporal sequence, so
that the causative agent occurs prior to the outcome, 5) the demonstration of a biological
gradient, in which more of the causative agent leads to a poorer outcome, 6) the demonstration of
a biologic rationale, such that it makes sense that the causative agent causes the outcome, 7)
coherence of the findings, such that the causation argument is in agreement with what we already
know, 8) experimental evidence, and 9) evidence from analogous conditions.

Bradford Hill's criteria are potentially helpful for neuropsychiatry because they 1) are widely
accepted and applied throughout medicine, 2) may increase rigor in establishing causation
through the structure they provide, 3) facilitate the teaching of important lessons about the role of
the brain in producing Behavioral change (e.g., if there is an absence of a biologic gradient, this
suggests hypotheses related to brain function that might explain this finding), and 4) suggest
research approaches (e.g., the need to establish a temporal sequence speaks to the need for
prospective studies)."

[Reference: The above quote was taken directly from: van Reekum R, Streiner DL, Conn DK.
Applying Bradford Hill's Criteria for Causation to Neuropsychiatry. J Neuropsychiatry Cli
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 Neurosci 13:318-325. August 2001. Accessed by SPKmd on 8.5.08 at the website:
 l^^ttp::nuno.psvchiau .),onliticor?cconte.nt,full, 1313/318]




 Addendum B

         Application of NARANJO ADVERSE DRUG REACTION
                                          PROBABILITYSCALE

 Purpose of the Naranjo scale: To provide a systematic method for assessing the probability of an adverse
 drug reaction in a clinical setting

 Read each question to determine the correct response, check the box, and place the number
 corresponding to that response in the appropriate box in the score column. Total the numbers in the
 score column to determine the probability that a particular medication was responsible for the reported
 adverse event.


   ::    :
Question
        1.       Are there previous conclusive reports?


                 Did the adverse event appear after the suspected drug
                 was administered?


                 Did the adverse event improve when drug was
                 discontinued or specific antagonist was administered?


        4.       Reaction was more severe with increased dose or less
                 severe with decreased dose?




             .   Are there other nondrug causes for the adverse event?          1?




                 Does patient have a history of similar reaction with drug or
                 drug class?
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Total Score
Adapted by University of Arizona, college of Pharmacy from Naranjo CA, Busto U, Sellers EM at al. A method for estimating the probability of
adverse drug reactions. Ciin Pharmacol Ther. 1981; 30:239-45.




    Naranjo causality scale for adverse drug reactions       Scoring > 9 = definite adverse
   drug reaction (ADR) 5-8 = probable ADR 1-4 = possible ADR 0 = doubtful ADR

   [accessed by SPKMD on 8.6.08;
   11t.tp :/'dernlatolo ,,v.edlib.orvi 127/case reports methotrcxate../table2.htn1;]



   Applying the guidelines from the Naranjo et al publication to assess the cause of an
   adverse drug reaction (with the assumption that an adverse reaction to a drug may
   differ from an adverse behavioral response to a medication), I obtained a score of
   7, as noted. That score places the adverse event (AE) of suicide from Neurontin
   for Mrs. Bulger in the mid-range of a `probable' causative association.




                                             Addendum C: Bibliography
  In the past 4 years, some of the documents that I reviewed in order to better
  understand the effects of gabapentin include the following. For the purpose of this
  report, these documents should be considered an example of what I considered
  and/or relieved upon in order to form my conclusions about the neuropsychiatric
  effects of Neurontin.


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     Intranigral Microinjection of GABA Agonist. Pharmacology, Biochemistry and Behavior,
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     Agent Gabapentin Is an Agonist at Brain 'y-Aminobutyric Acid Type B Receptors
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   type Ca 2+ Channels via GABAB Receptors in Hippocampal Pyramidal Cells. Synapse.
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Attachment A: Brief Resume, Dr. Kruszewski
